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                                   3                                  UNITED STATES DISTRICT COURT

                                   4                                 NORTHERN DISTRICT OF CALIFORNIA

                                   5
                                        BILLJCO, LLC,
                                   6                                                       Case No. 22-cv-03201-VKD
                                                        Plaintiff,
                                   7
                                                  v.                                       ORDER SETTING INITIAL CASE
                                   8                                                       MANAGEMENT CONFERENCE
                                        APPLE, INC.,                                       AND ADR DEADLINES
                                   9
                                                        Defendant.
                                  10

                                  11

                                  12             IT IS HEREBY ORDERED that this action is assigned to the Honorable Virginia K.
Northern District of California
 United States District Court




                                  13   DeMarchi. When serving the complaint or notice of removal, the plaintiff or removing defendant

                                  14   must serve on all other parties a copy of this order, the Notice of Assignment of Case to a United

                                  15   States Magistrate Judge for Trial, and all other documents specified in Civil Local Rule 4-2.

                                  16   Plaintiffs or removing parties must file a consent or declination to proceed before a magistrate

                                  17   judge within 14 days of the filing of the complaint or the removal. All other parties must file a

                                  18   consent or declination within 14 days of appearing in the case. All parties who have made an

                                  19   appearance must file a consent or declination within 7 days of the filing of a dispositive motion or

                                  20   the case will be reassigned to a district court judge. Counsel must comply with the case schedule

                                  21   listed below unless the Court otherwise orders.

                                  22             IT IS FURTHER ORDERED that this action is assigned to the Alternative Dispute

                                  23   Resolution (ADR) Multi-Option Program governed by ADR Local Rule 3. Counsel and clients

                                  24   shall familiarize themselves with that rule and with the material entitled “Dispute Resolution

                                  25   Procedures in the Northern District of California” on the Court’s ADR webpage at

                                  26   www.cand.uscourts.gov/adr. A limited number of printed copies are available from the Clerk’s

                                  27   Office.

                                  28             IT IS FURTHER ORDERED that plaintiff or removing defendant serve upon all parties
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                                   1   the brochure entitled “Consenting To A Magistrate Judge’s Jurisdiction In The Northern District

                                   2   Of California,” available on the Court’s website, www.cand.uscourts.gov.

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                                   4                         CASE SCHEDULE – ADR MULTI-OPTION PROGRAM

                                   5    Date                       Event                                                           Governing Rule

                                   6    6/1/2022                   Case filed with the Northern District of California

                                   7    8/9/2022                   *Last day to:                                                   FRCivP 26(f) &
                                                                   • meet and confer re: initial disclosures, early                ADR L.R.3-5
                                   8                               settlement, ADR process selection, and discovery
                                                                   plan
                                   9
                                  10                               • file ADR Certification signed by Parties and                  Civil L.R . 16-8(b)
                                                                   Counsel (form available at                                      & ADR L.R. 3-5(b)
                                  11                               http://www.cand.uscourts.gov)

                                  12    8/23/2022                  **Last day to file Rule 26(f) Report, complete                  FRCivP 26(a) (1)
Northern District of California
 United States District Court




                                                                   initial disclosures or state objection in Rule 26(f)            Civil L.R . 16-9
                                  13                               Report and file Case Management Statement per
                                  14                               Standing Order re Contents of Joint Case
                                                                   Management Statement (available at
                                  15                               www.cand.uscourts.gov)

                                  16    8/30/2022                  INITIAL CASE MANAGEMENT                                         Civil L.R . 16-10
                                                                   CONFERENCE (CMC) at 1:30 PM in:
                                  17
                                                                   Courtroom 2, Fifth Floor
                                  18                               Robert F. Peckham Federal Building
                                                                   280 South 1st Street
                                  19                               San Jose, CA 95113
                                  20
                                       * If the Initial Case Management Conference is continued, unless otherwise ordered this deadline is continued to 21
                                  21   days in advance of the Initial Case Management Conference.
                                  22   ** If the Initial Case Management Conference is continued, unless otherwise ordered this deadline is continued to 7
                                       days in advance of the Initial Case Management Conference.
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